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                        HEAD KANDY LLC vs KAYLA MCNEILL
                            Christopher Hines on 05/14/2024

    ·1· · · · · · ·UNITED STATES DISTRICT COURT
    · · · · · · · · SOUTHERN DISTRICT OF FLORIDA
    ·2· · · · · · · · · · FT. LAUDERDALE

    ·3
    · · ·HEAD KANDY LLC,
    ·4
    · · · · · · · ·Plaintiff,· · · · · CASE NO.
    ·5· · · · · · · · · · · · · · · · ·0:23-cv-60345-JB
    · · ·vs.
    ·6
    · · ·KAYLA MCNEILL,
    ·7
    · · · · · · · ·Defendant.
    ·8
    · · ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
    ·9

    10· · · · · · · · · · ·DEPOSITION OF

    11· · · · · · · · · ·CHRISTOPHER HINES

    12

    13· · · · · · · · ·Tuesday, May 14, 2024

    14· · · · · · · · · · · ·9:03 A.M.

    15· · · · · · · · · · Videoconference

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    24· · · · · · ·Reported By Lauryn Massengale

    25· · · · · · · · · · ·Job No. 65923


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    ·1· · · · · · · · · ·APPEARANCES OF COUNSEL

    ·2

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    20

    21

    22· ·Also present:

    23· · · ·Joe Malone, Videographer
    · · · · ·Kayla McNeill, Defendant
    24

    25


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    ·1· · · · A.· ·It was just 40 hours a week.
    ·2· · · · Q.· ·And were you given set days?
    ·3· · · · A.· ·What's that?
    ·4· · · · Q.· ·Were you given set days?
    ·5· · · · A.· ·Monday through Friday.
    ·6· · · · Q.· ·And were you given set hours every Monday
    ·7· ·through Friday that you were working?
    ·8· · · · A.· ·It started out at set hours.· Yeah.
    ·9· · · · Q.· ·And what hours did it start out as?
    10· · · · A.· ·Honestly, I can't remember the actual time.
    11· ·I think it was 8:00, 8:00 to 4:00.· It was a typical
    12· ·time that everyone showed up.· I just don't remember
    13· ·because we -- we started early because we shipped a lot
    14· ·of stuff.· So I can't remember the exact time that we
    15· ·actually went in, no.· It was -- it's been a few years
    16· ·and --
    17· · · · Q.· ·Okay.· When -- were you mostly working --
    18· ·sorry.· Let me back up.
    19· · · · A.· ·Sorry.
    20· · · · Q.· ·When you were hired, were you hired to work,
    21· ·like, eight-hour shifts?
    22· · · · A.· ·Yes.
    23· · · · Q.· ·At any point in time, did your role as -- as
    24· ·a warehouse employee begin to change?
    25· · · · A.· ·Yes.

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    ·1· · · · Q.· ·What do you mean by that?
    ·2· · · · A.· ·Because I went from being just a warehouse
    ·3· ·employee to pretty much I did what I was told to do.
    ·4· ·And I went wherever they told me to go and do what they
    ·5· ·said to do, pretty much.
    ·6· · · · Q.· ·Who was -- who was "they" when you say you're
    ·7· ·doing what you were told to do?
    ·8· · · · A.· ·Kayla.· Kayla McNeill.
    ·9· · · · · · ·MS. SADRO:· Let me have just one moment.               I
    10· ·think I've got some background noise.· All right.
    11· ·Thank you, everybody.· Think we got that resolved.
    12· ·BY MS. SADRO:
    13· · · · Q.· ·When -- what were some of the things that
    14· ·Kayla McNeill was telling you to do that didn't involve
    15· ·shipping or delivery?
    16· · · · A.· ·One time she told me that if I liked my job,
    17· ·I was going to go to her house and pick up her trash.
    18· · · · Q.· ·Do you remember when that happened?
    19· · · · A.· ·I don't remember the exact dates, but I do
    20· ·know that Dallas Perkins has it in his cell phone.
    21· · · · Q.· ·You think he has it?
    22· · · · A.· ·Yes.· I'm pretty sure he has it because she
    23· ·texted him that that was going to be our duty for the
    24· ·day, and neither one of us wanted to go pick her trash
    25· ·up.· And --

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    ·1· · · · Q.· ·No.· Sorry.· Go ahead.
    ·2· · · · A.· ·And so we were basically told that, if you
    ·3· ·like your job, you're going to go to my house and pick
    ·4· ·my trash up.
    ·5· · · · Q.· ·Do you remember how long you had been working
    ·6· ·for Head Kandy when you started getting told to do some
    ·7· ·of those other jobs?
    ·8· · · · A.· ·Oh, it had been over a year at -- almost -- I
    ·9· ·was probably on my second year when that happened.
    10· · · · Q.· ·Did you end up -- what did you learn about
    11· ·what Ms. McNeill wanted you to do picking up trash?
    12· · · · A.· ·Because Dallas had came up and was like, hey,
    13· ·we got to go to Kayla's house again and pick up all of
    14· ·her trash again.
    15· · · · · · ·And I was like, no, that's not my job.              I
    16· ·don't -- I didn't come to work here to pick up somebody
    17· ·else's trash in their yard because they can't throw
    18· ·their own trash away.
    19· · · · Q.· ·Did you end up going to Ms. McNeill's house
    20· ·to pick up trash?
    21· · · · A.· ·Yes.· Because she came up to me and told me
    22· ·that if I liked my job, I was going to go to her house
    23· ·and pick up her trash.
    24· · · · Q.· ·Is that something --
    25· · · · A.· ·That was my job that day.

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    ·1· · · · Q.· ·Is that something she said to you in person?
    ·2· · · · A.· ·Yes.· She said that to me in person.· She's
    ·3· ·told me -- words out of her mouth were, if you like
    ·4· ·your job, you will go to my house and pick up my trash.
    ·5· · · · Q.· ·Do you remember how far away Ms. McNeill's
    ·6· ·house was from the warehouse you were working in?
    ·7· · · · A.· ·Yeah.· So it's about a 15-minute drive to her
    ·8· ·house.· She lives at the bottom of Dump Hill and the
    ·9· ·warehouse is in Poncha Springs.· So it's a good 15-
    10· ·minute drive, 20-minute drive if the traffic is good.
    11· · · · Q.· ·When you got there, what did you and Mr.
    12· ·Perkins do?
    13· · · · A.· ·Walked around her acreages and picked up all
    14· ·the trash that the animals had gotten into and spread
    15· ·throughout her yard.· Acres, hence the word acres.
    16· · · · Q.· ·What kind of trash were you picking up?
    17· · · · A.· ·Her household trash.
    18· · · · Q.· ·How long did it take you and Mr. Perkins to
    19· ·complete picking up all of that trash?
    20· · · · A.· ·The second time, it took us a couple hours.
    21· · · · Q.· ·And you said the second time.· Were you asked
    22· ·to do this on more than one occasion?
    23· · · · A.· ·Yes.· That was why I was like, I'm not
    24· ·picking trash up again.· I'm not doing that.
    25· · · · · · ·And she was like, well, if you like your job,

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    ·1· ·you're going to go to my house and pick up my trash.
    ·2· ·And so I didn't really feel like trying to find another
    ·3· ·job, so Dallas and I went and picked up trash.
    ·4· · · · Q.· ·The two times that you were asked to pick up
    ·5· ·trash at Ms. McNeill's house, were those pretty close
    ·6· ·in time to each other or spread apart?
    ·7· · · · A.· ·I'd like to say they were -- I think there
    ·8· ·was about a -- maybe between -- it was about a couple
    ·9· ·weeks to a month, maybe, between the first one to the
    10· ·second one.
    11· · · · Q.· ·Did it take you hours to finish the job both
    12· ·times?
    13· · · · A.· ·Yeah.· Both times it was just -- it was just
    14· ·trash.· It was a whole trailer load of trash, and it
    15· ·was everywhere.· And then the bags of trash were ripped
    16· ·open, so it was a bunch of little trash on top of --
    17· ·you know, it was diapers and whatever else the animals
    18· ·just shredded through the woods.
    19· · · · Q.· ·And what time during the day would you go to
    20· ·Ms. McNeill's house to pick up her personal trash?
    21· · · · A.· ·I'm pretty sure that was when we first got
    22· ·there in the morning is when we -- when we got sent
    23· ·over to her house to do it.
    24· · · · Q.· ·When you first got there in the morning, do
    25· ·you mean at the warehouse at Head -- for Head Kandy?

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    ·1· · · · Q.· ·What name was on that check?
    ·2· · · · A.· ·It was Head Kandy, LLC, I think.· I have some
    ·3· ·of those checks at home.· I just didn't think to grab
    ·4· ·one.· It was like a payroll check.
    ·5· · · · Q.· ·No.· And that -- and that's fair, Mr. Hines.
    ·6· ·What I'll tell you to do, since you brought it up and I
    ·7· ·assume Mr. Converse wants same thing.· So for both of
    ·8· ·us, just make sure you don't throw away those checks.
    ·9· ·Keep them in your possession and don't alter them in
    10· ·any way, okay?
    11· · · · A.· ·Oh, yeah.· Oh, I don't have actual checks.                I
    12· ·have the -- you know, the pay stub that came with it.
    13· · · · Q.· ·The pay stub.· Excuse me.
    14· · · · A.· ·Yeah.
    15· · · · Q.· ·Okay.· So just keep those in your possession.
    16· · · · A.· ·Just wanted to clear that up.
    17· · · · Q.· ·Thank you.· All right.· Two times that you
    18· ·had to go pick up trash.· Did Ms. McNeill tell you that
    19· ·when you were going to pick up trash, you would be paid
    20· ·by Head Kandy?
    21· · · · A.· ·Well, I just -- no.· It was just like, this
    22· ·is your job today.· She wasn't like, well, Head Kandy
    23· ·is paying you.· It's just this is one of those things.
    24· ·This is what I want you to do today because I'm the
    25· ·boss and you're going to do what I tell you.· That's

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     ·1· ·what it was.
     ·2· · · · Q.· ·Did Ms. McNeill ask you to -- to clock out
     ·3· ·before you went to her home to pick up trash?
     ·4· · · · A.· ·No.· Nope.
     ·5· · · · Q.· ·Did you remain clocked in that entire time
     ·6· ·that you were at her home?
     ·7· · · · A.· ·Yes, I was.· Same with when we put her
     ·8· ·Christmas tree up.
     ·9· · · · Q.· ·Well, let's talk about that, Mr. Hines.· You
     10· ·said a Christmas tree.· What do you mean?· What
     11· ·happened?
     12· · · · A.· ·She was out of town, so Dallas, Kelly, and I
     13· ·had to go decorate her house, set up her Christmas
     14· ·tree, and put all of her Christmas lights up.
     15· · · · Q.· ·Were these inside lights or outside lights or
     16· ·something else?
     17· · · · A.· ·Inside.
     18· · · · Q.· ·How did Ms. McNeill tell you that she wanted
     19· ·you to go put up her Christmas decorations?
     20· · · · · · ·MR. CONVERSE:· Objection.· Form.
     21· · · · · · ·THE WITNESS:· She told --
     22· · · · · · ·MR. CONVERSE:· Go ahead.· You can answer.
     23· · · · · · ·THE WITNESS:· Sorry.· It was actually a
     24· ·message that Dallas had gotten.· She had texted Dallas,
     25· ·and then Dallas and I went to do it, and we went and

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     ·1· ·did it.
     ·2· ·BY MS. SADRO:
     ·3· · · · Q.· ·When you went to Ms. McNeill's home to put up
     ·4· ·her Christmas tree, were you clocked in for Head Kandy
     ·5· ·that morning?
     ·6· · · · A.· ·Yep.
     ·7· · · · · · ·MR. CONVERSE:· Objection.· Form.
     ·8· ·BY MS. SADRO:
     ·9· · · · Q.· ·Did you remain clocked in while you were at
     10· ·Ms. McNeill's house putting up the Christmas tree?
     11· · · · A.· ·Yes.
     12· · · · Q.· ·Do you remember what Christmas that occurred
     13· ·during, what year?
     14· · · · A.· ·2020.· I think it was 2020.· I got pictures
     15· ·of that too somewhere.
     16· · · · Q.· ·Okay.· Anything that -- that you have, Mr.
     17· ·Hines, what I'll say generally, is anything that you
     18· ·have that -- that relates to Head Kandy or any
     19· ·documents that we may talk about today, I'll say the
     20· ·same thing for those: Just keep them in your possession
     21· ·and don't change or alter them in any way, okay?
     22· · · · A.· ·Yep.
     23· · · · Q.· ·Okay.· When you and Mr. Perkins were setting
     24· ·up the Christmas decorations, how long did that take
     25· ·you?

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     ·1· · · · A.· ·Nope.
     ·2· · · · Q.· ·Did you ever do any work in the warehouse on
     ·3· ·Ms. McNeill's property?
     ·4· · · · A.· ·Just moving stuff and loading stuff and
     ·5· ·unloading race tires and whatever else was in the race
     ·6· ·trailer.
     ·7· · · · Q.· ·Mr. Hines, I want to back up for just a
     ·8· ·second because I wanted to ask you: During that trip to
     ·9· ·Denver and -- and back, were you clocked in for Head
     10· ·Kandy?
     11· · · · A.· ·Yes.
     12· · · · Q.· ·Were you paid for your work that day?
     13· · · · A.· ·By Head Kandy.· Yes.
     14· · · · Q.· ·Head Kandy paid you to drive to Denver and
     15· ·pick up appliances for Ms. McNeill's property?
     16· · · · A.· ·Yep.
     17· · · · Q.· ·Let's talk about that apartment -- or sorry.
     18· ·Not apartment.· Excuse me.· The warehouse on Ms.
     19· ·McNeill's property.· You were telling us a little bit
     20· ·about racetracks.· What did those look like?
     21· · · · A.· ·Basically, it was just a big -- the parking
     22· ·lot, and we set these barriers up around in the parking
     23· ·lot so that the kids can do, like, a roundy-round with
     24· ·their little race cars that they have.· I don't know
     25· ·what you actually call those little -- they're like the

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     ·1· ·little funny cars.· And, you know, they were just a
     ·2· ·little plastic -- they look like concrete, you know,
     ·3· ·the concrete barriers that they put on the side of the
     ·4· ·road.· They're basically those but plastic.· You fill
     ·5· ·them full of water, so when the kids wreck, you know,
     ·6· ·they have something to wreck into.
     ·7· · · · Q.· ·And who was responsible for putting together
     ·8· ·that -- that racetrack setup?
     ·9· · · · A.· ·Pretty much Dallas was.
     10· · · · Q.· ·Were you with Dallas when he set it up?
     11· · · · A.· ·Yeah.· I just -- I assisted him with it.
     12· · · · Q.· ·Was anybody else there?
     13· · · · A.· ·Nope.· It was just Dallas and I.
     14· · · · Q.· ·Was it your understanding that Ms. McNeill
     15· ·was asking you to do that work?
     16· · · · A.· ·Yes.
     17· · · · Q.· ·Was --
     18· · · · A.· ·It wasn't an ask.· It was a told.
     19· · · · Q.· ·What do you mean?
     20· · · · A.· ·I mean it was, you're going to do this today.
     21· ·It wasn't a, can you do this today?· It's, you're going
     22· ·to do this today.· You're going to do this today.· So -
     23· ·-
     24· · · · Q.· ·How long did it take you and Mr. Perkins to
     25· ·set up that racetrack?

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     ·1· · · · A.· ·We spent the whole day there.
     ·2· · · · Q.· ·Was that a normal working day?
     ·3· · · · A.· ·Yeah.
     ·4· · · · Q.· ·Do you remember about when you set up the
     ·5· ·racetrack?
     ·6· · · · A.· ·I don't remember that.
     ·7· · · · Q.· ·Okay.
     ·8· · · · A.· ·Again, I'm pretty sure Dallas has that
     ·9· ·message, too.
     10· · · · Q.· ·On the day that you -- I'm sorry.· On the day
     11· ·you set up the racetrack, did you begin your day at a
     12· ·Head Kandy warehouse?
     13· · · · A.· ·I sure did.· It's where I parked my car, too.
     14· · · · Q.· ·And did you clock in?
     15· · · · A.· ·Yep.· And then I hopped in the truck with
     16· ·him, and we left.
     17· · · · Q.· ·Okay.· Did you clock out during the time that
     18· ·you were building this racetrack on Ms. McNeill's
     19· ·property?
     20· · · · A.· ·Nope.· Sure didn't.· I didn't clock out until
     21· ·I got back to the warehouse and clocked out and went
     22· ·home.
     23· · · · Q.· ·Were you paid for that work?
     24· · · · A.· ·Yep.
     25· · · · Q.· ·Who were you --

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     ·1· · · · A.· ·By Head Kandy.
     ·2· · · · Q.· ·Okay.· Did you have to do any other work on
     ·3· ·Ms. McNeill's property?
     ·4· · · · A.· ·Which time?
     ·5· · · · Q.· ·Any time during your employment with Head
     ·6· ·Kandy?
     ·7· · · · A.· ·There's a few times I had to go and put all
     ·8· ·the IKEA stuff that was shipped to her house into the
     ·9· ·shipping containers that are on her property.
     10· · · · Q.· ·Okay.
     11· · · · A.· ·Two of them.
     12· · · · Q.· ·Two shipping containers or two times?
     13· · · · A.· ·No.· Two shipping containers.
     14· · · · Q.· ·How many times did you have to unload
     15· ·shipping containers at Ms. McNeill's house?
     16· · · · A.· ·I can't answer that question because I really
     17· ·don't remember.· It was a lot.· There was a lot of
     18· ·times.· If I answered it, I don't think it would be
     19· ·right because there were several times that we had to
     20· ·go and unload stuff, move stuff, and then load stuff
     21· ·into her trailer because it was -- needed to be put in
     22· ·the trailer.
     23· · · · Q.· ·Who told you that you would be going to
     24· ·unload the shipping containers at Ms. McNeill's house?
     25· · · · A.· ·Dallas.

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     ·1· · · · Q.· ·Did he show you a text, or did he tell you
     ·2· ·that that's something Ms. McNeill told him to do?
     ·3· · · · A.· ·It was just one of those, hey, Kayla texted
     ·4· ·me this morning, said this is what we're going to be
     ·5· ·doing.· And I never argued with him because it was a --
     ·6· ·it was basically our routine, basically.· Dallas and I
     ·7· ·were the go-to.
     ·8· · · · Q.· ·When you were unpacking these shipping
     ·9· ·containers, what kind of items were in them?
     10· · · · A.· ·It -- a lot of it was furniture, household
     11· ·furniture unboxed.· It wasn't even -- you know, it was
     12· ·still in the boxes, the majority of it.· And it was
     13· ·like the UPS brought it to her house, dropped it in her
     14· ·driveway.· We went loaded it in the truck and then
     15· ·drove it down and around the driveway down to her
     16· ·shipping containers.· Put it in the shipping container.
     17· ·Would drive back up to her house, load the trucks back
     18· ·up, and then drive the trucks -- trucks back down and
     19· ·around and unload the trucks in her shipping
     20· ·containers.
     21· · · · Q.· ·Where would you unload the shipping
     22· ·containers?
     23· · · · A.· ·No.· The shipping containers were on her
     24· ·property.· What we would do is go up to her driveway.
     25· ·We would load the stuff into the trucks, and then we

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     ·1· ·would have to drive the truck down and around and
     ·2· ·unload it into the shipping container because the
     ·3· ·shipping container was on her property, but it was
     ·4· ·nowhere near the house.
     ·5· · · · Q.· ·Okay.· The -- the --
     ·6· · · · A.· ·There was a few times it was three or four of
     ·7· ·us doing it, not just Dallas and I.
     ·8· · · · Q.· ·Do you remember who?
     ·9· · · · A.· ·One -- Damian, and I don't remember the other
     10· ·kid that was helping us because I don't remember who --
     11· ·what his name was.· Dallas might, but I can't remember
     12· ·the other kid's name.
     13· · · · Q.· ·The furniture that was in these containers,
     14· ·where did you -- where did you put that furniture?
     15· · · · · · ·MR. CONVERSE:· Objection.· Form.
     16· · · · · · ·THE WITNESS:· So we would take it from her
     17· ·driveway, and then we would just put it into the
     18· ·shipping containers that are on her property, and it
     19· ·would just stay there.
     20· ·BY MS. SADRO:
     21· · · · Q.· ·The furniture that you unloaded at Ms.
     22· ·McNeill's property, did you ever see it at one of the
     23· ·Head Kandy warehouses?
     24· · · · A.· ·Nope.
     25· · · · · · ·MR. CONVERSE:· Objection.· Form.

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     ·1· · · · · · ·THE WITNESS:· Sure didn't.
     ·2· ·BY MS. SADRO:
     ·3· · · · Q.· ·How long when you were -- when you and Mr.
     ·4· ·Perkins, and sometimes other people, were unloading
     ·5· ·these items would it take you to complete that job?
     ·6· · · · A.· ·A couple hours.
     ·7· · · · · · ·MR. CONVERSE:· Objection.· Form.
     ·8· ·BY MS. SADRO:
     ·9· · · · Q.· ·What was that, Mr. Hines?
     10· · · · A.· ·A couple hours.
     11· · · · Q.· ·When you were working for those couple of
     12· ·hours, were you clocked in at Head Kandy?
     13· · · · A.· ·Yes, I was.
     14· · · · Q.· ·Were you paid for your work during those
     15· ·days?
     16· · · · A.· ·Yes.· By Head Kandy.
     17· · · · Q.· ·When you --
     18· · · · A.· ·After -- what's that?
     19· · · · Q.· ·Sorry.· When you completed that work at the
     20· ·end of the day, would you head back to the Head Kandy
     21· ·warehouse?
     22· · · · A.· ·Yes.
     23· · · · Q.· ·Hold on, Mr. Hines.· I got to -- I have to
     24· ·pause for a second.· Is there somebody else in the
     25· ·vehicle with you?

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     ·1· · · · Q.· ·Okay.
     ·2· · · · A.· ·I locked my door too, so it doesn't -- I
     ·3· ·wasn't paying attention.· He just walked up from the
     ·4· ·side of me and came in, so --
     ·5· · · · Q.· ·Well, no.· It's okay.· And I tell you, your
     ·6· ·dog could become an important witness, but I -- I think
     ·7· ·we'll let Scooby stay.
     ·8· · · · A.· ·All right.
     ·9· · · · Q.· ·Did you do any other work for Ms. McNeill at
     10· ·her house?
     11· · · · A.· ·Yes.
     12· · · · · · ·MR. CONVERSE:· Objection.· Form.
     13· ·BY MS. SADRO:
     14· · · · Q.· ·What other work?
     15· · · · A.· ·There were so many times I -- I went and
     16· ·helped Dallas clean and move stuff.· We've gone and
     17· ·picked up the bottom basement floor before.· The bottom
     18· ·basement is where the kids [inaudible 00:34:59].
     19· · · · · · ·THE COURT REPORTER:· Oh, I'm sorry.· He's
     20· ·cutting out.· I can't hear.· I got "bottom basement
     21· ·floor".· I didn't hear anything past that.
     22· ·BY MS. SADRO:
     23· · · · Q.· ·Mr. Hines, can you tell us what you meant by
     24· ·bottom basement floor?· What were you doing?
     25· · · · A.· ·It was basically where the kids stayed.· It

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     ·1· ·was the kids' play area.· And there was a few times
     ·2· ·that Dallas and I went in there and had to remove the
     ·3· ·furniture around, rearrange the furniture and pick up
     ·4· ·the kids' toys.
     ·5· · · · Q.· ·When -- do you remember about how many times
     ·6· ·you and Mr. Perkins had to go complete that task?
     ·7· · · · A.· ·We went and put -- actually, there are at
     ·8· ·least four times that I can think of that we went and
     ·9· ·built something for her house.
     10· · · · Q.· ·Okay.
     11· · · · A.· ·Put, like, shelves together, put the kids'
     12· ·bed together.· We picked up their -- the toys that were
     13· ·everywhere on the bottom floor.
     14· · · · Q.· ·Those four times that you were doing that
     15· ·work for Ms. McNeill, did you spend the same amount of
     16· ·time each time, or was it different?
     17· · · · · · ·MR. CONVERSE:· Objection.· Form.
     18· · · · · · ·THE WITNESS:· It was different.
     19· ·BY MS. SADRO:
     20· · · · Q.· ·Okay.
     21· · · · A.· ·Sometimes it would take longer; sometimes it
     22· ·wouldn't.
     23· · · · Q.· ·Well, what would be the -- the shortest
     24· ·amount of time it would take you?
     25· · · · A.· ·I'd say the shortest amount of time that we

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     ·1· ·asked you to do at her home that we haven't already
     ·2· ·talked about?
     ·3· · · · · · ·MR. CONVERSE:· Objection.· Form.
     ·4· · · · · · ·THE WITNESS:· Yeah.· I don't know.· Dallas
     ·5· ·and I cleaned her garage out, actually, now I think
     ·6· ·about it, one time, and I scrubbed the floor.
     ·7· ·BY MS. SADRO:
     ·8· · · · Q.· ·Of the garage?
     ·9· · · · A.· ·Yep.
     10· · · · Q.· ·Do you remember about when that happened?
     11· · · · A.· ·I don't remember when -- about when that
     12· ·happened.· It was in the middle of my experience of
     13· ·working there.
     14· · · · Q.· ·How did you learn that you were going to be
     15· ·cleaning out Ms. McNeill's garage?
     16· · · · A.· ·Dallas.
     17· · · · Q.· ·When you were being asked to do these tasks,
     18· ·are there -- would Ms. McNeill communicate them
     19· ·directly to you?
     20· · · · A.· ·No.· Basically, it was to Dallas, and then
     21· ·Dallas would tell me, and then Dallas and I would go
     22· ·and just handle it.
     23· · · · Q.· ·But they were always at Ms. McNeill's
     24· ·property?
     25· · · · A.· ·Yes.

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     ·1· · · · · · ·THE WITNESS:· I saw, like, parts of them.
     ·2· ·Yes.· You know, like the, oh, here, look, see, you
     ·3· ·know, and then they'd show off some of the pictures
     ·4· ·when they got back.
     ·5· ·BY MS. SADRO:
     ·6· · · · Q.· ·Did you think, Mr. Hines, that miss -- that
     ·7· ·Rhonda was being paid for the photography in Mexico?
     ·8· · · · · · ·MR. CONVERSE:· Objection.· Form.
     ·9· · · · · · ·THE WITNESS:· That one, I don't know 100
     10· ·percent, but I would pretty much guarantee Head Kandy
     11· ·paid that, too.
     12· ·BY MS. SADRO:
     13· · · · Q.· ·Okay.
     14· · · · A.· ·Head Kandy paid for everything.· I mean I
     15· ·don't know for a fact that they paid her, but I know
     16· ·that she told me personally that Head Kandy was the one
     17· ·that was responsible for paying her.
     18· · · · Q.· ·But she didn't specify that with respect to
     19· ·Mexico?
     20· · · · A.· ·No.· But Kayla never paid out of her own
     21· ·pocket, so.
     22· · · · Q.· ·I want to back up for a minute and talk about
     23· ·Haysley's Boutique.· You said a while ago -- we were
     24· ·talking about Ms. McNeill's house.· Did you see
     25· ·anything for Haysley's Boutique in Ms. McNeill's house?

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     ·1· · · · A.· ·Oh, yes.· When we cleaned that bedroom out
     ·2· ·for Andrew, it was full of her stuff, boxes and boxes
     ·3· ·of clothing.
     ·4· · · · Q.· ·Were you -- so you were having to move
     ·5· ·clothing that was for Haysley's Boutique?
     ·6· · · · A.· ·Yes.· When we cleaned out that bedroom for
     ·7· ·him to move into.
     ·8· · · · Q.· ·How much inventory for Haysley's Boutique
     ·9· ·were you having to move?
     10· · · · A.· ·It took four of us a couple of hours to move
     11· ·it.
     12· · · · Q.· ·And how did you know that the clothing or
     13· ·other items in that room were for Haysley's Boutique?
     14· · · · A.· ·Because that's what I was told.
     15· · · · Q.· ·By who?
     16· · · · A.· ·Kayla.
     17· · · · Q.· ·When you were moving those items for
     18· ·Haysley's Boutique, were you clocked in for Head Kandy?
     19· · · · A.· ·Yes, I was.
     20· · · · Q.· ·And were you paid by Head Kandy?
     21· · · · A.· ·Yes, I was.
     22· · · · Q.· ·Did Kayla ever offer to pay you personally
     23· ·for moving the inventory for Haysley's Boutique?
     24· · · · A.· ·No.
     25· · · · · · ·MS. SADRO:· Everybody, we've been going I

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     ·1· ·the time.
     ·2· · · · Q.· ·Did you say good tone?
     ·3· · · · A.· ·No.· I -- it was a -- sorry.· It was a
     ·4· ·sarcastic.· She was -- she treated Dallas worse than
     ·5· ·she treated me.· It was like he -- he was her own son
     ·6· ·almost, like some of the things that she made him do,
     ·7· ·expected him to do.
     ·8· · · · Q.· ·Like what?
     ·9· · · · A.· ·Like he was her personal caregiver,
     10· ·basically.· He cleaned up after her.· He went to her
     11· ·house all the time to do her personal -- personal
     12· ·stuff, like building cabinets and whatever needed to be
     13· ·done.· Dallas and I were the ones that did it.
     14· · · · Q.· ·Did you ever see a time where Dallas had to
     15· ·go to Ms. McNeill's house to work without you?
     16· · · · A.· ·Oh, yeah.· There was lots of times that he
     17· ·wasn't able to have me with him.
     18· · · · Q.· ·How many times would you say?
     19· · · · A.· ·A lot.· I couldn't honestly answer that
     20· ·because it was a lot.· Dallas did a lot for her.
     21· · · · Q.· ·And --
     22· · · · A.· ·Working at her house, on Head Kandy dollar.
     23· · · · Q.· ·When he was gone for that work, how long
     24· ·would Dallas be gone for?
     25· · · · A.· ·Sometimes it'd be the whole day.· Sometimes

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